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 1                         UNITED STATES DISTRICT COURT
 2                                DISTRICT OF NEVADA
 3   ROBERT WILLIAM DOWNS, II,                      Case No. 3:22-cv-00075-ART-CLB
 4                                Petitioner,                  ORDER
            v.
 5
     STATE OF NEVADA,
 6
                               Respondents.
 7

 8         This counseled habeas matter is before this Court on Petitioner Robert
 9   William Downs’s unopposed motion for an extension of time. (ECF No. 42.) This
10   is Downs’s second request for an extension of this deadline. This Court finds good
11   cause to grant the motion.
12         It is therefore ordered that the unopposed motion for an extension of time
13   (ECF No. 42) is granted. Downs has up to and including July 30, 2024, to file his
14   opposition to the motion to dismiss.
15         DATED THIS 31st day of May 2024.
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                                            ANNE R. TRAUM
19                                          UNITED STATES DISTRICT JUDGE
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